                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                         )
                                                 )   Case No. 1:09-CR-181-01
v.                                               )
                                                 )   Chief Judge Curtis L. Collier
HARRY A. PRITCHETT A/K/A “OSAMA”                 )


                                 MEMORANDUM & ORDER

         Before the Court is Defendant Harry A. Pritchett’s (“Defendant”) pro se motion for a new

trial (Court File No. 1434). Defendant seeks a new trial pursuant to Rule 33(b)(1) of the Federal

Rules of Criminal Procedure. The Court cannot proceed to the merits of Defendant’s motion,

however, for two main reasons. First, Defendant is currently represented by counsel. Although

Defendant states he is “waiv[ing]” his right to counsel for purposes of this motion only, a criminal

defendant cannot both proceed pro se and have counsel. See E.D. Tenn. L.R. 83.4(c). Once a

defendant has counsel, that counsel speaks for the defendant in all proceedings, absent some unusual

circumstance, which Defendant has failed to show here. Second, this Court lacks jurisdiction to

consider Defendant’s motion for a new trial under Rule 33(b)(1) because Defendant’s case is

presently being appealed.1 Rule 33(b)(1) explicitly states “[i]f an appeal is pending, the court may

not grant a motion for a new trial until the appellate court remands the case.” Fed. R. Crim. P.

33(b)(1).

         Accordingly, the Court DENIES Defendant’s pro se motion for a new trial (Court File No.

1434).


         1
          Defendant claims there is “newly discovered evidence,” which is why he has filed his
motion under Rule 33(b)(1). To the extent Defendant seeks a new trial for any other reason, his
motion is untimely because Rule 33(b)(2) requires that such motions be filed within fourteen days
after the verdict. The jury returned with a verdict in this case on September 9, 2011.


     Case 1:09-cr-00181-TRM-CHS           Document 1435        Filed 05/21/12      Page 1 of 2
                                         PageID #: 4265
   SO ORDERED.

   ENTER:



                                /s/
                                CURTIS L. COLLIER
                                CHIEF UNITED STATES DISTRICT JUDGE




                                   2


Case 1:09-cr-00181-TRM-CHS    Document 1435   Filed 05/21/12   Page 2 of 2
                             PageID #: 4266
